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                             EXHIBIT A
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       ANDREW BUGAJSKI,

                  Plaintiff,

       v.                                                                        Case No.:

       UNIVERSITY OF SOUTH FLORIDA
       BOARD OF TRUSTEES,

                  Defendant.



                                  COMPLAINT AND DEMAND FOR JURY TRIAL

               COMES NOW the Plaintiff, ANDREW BUGAJSKI, by and through his undersigned attorney,

      hereby sues Defendant, UNIVERSITY OF SOUTH FLORIDA BOARD OF TRUSTEES, and states the

      following:

                                               PRELIMINARY STATEMENT

               l.        This is an action seeking declaratory, injunctive, and equitable relief, as well as monetary

      damages, to redress Defendant's violations         of Title VII of the Civil Rights Act of 1964 (Title VII)      as


      well   as the   Florida Civil Rights Act of 1992 ('FCRA"), Chapter 760, Florida Statutes, discrimination

      and a hostile work environment relating to race and gender.

               2.        Specifically, Defendant violated Title VII by subjecting Plaintiff to severe and pervasive

      harassment because of      Plaintiff   s race and gender.

               3.        Defendant's unlawful conduct was knowing, malicious, willful, and wanton and/or

      showed a reckless disregard for         Plaintifls protected rights, which has caused and continues to        cause

      Plaintiff to suffer substantial economic and non-economic damages.

                                                           PARTIES

               4.        Plaintiff Dr. Andrew Bugajski is a former employee of Defendant. Defendant employed

      Plaintiff   as an Assistant Professor in the College of     Nursing from July I 6, 201 8 to May 14,202 I . Plaintiff
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is a resident of Hillsborough County, Florida.   At all relevant times hereto, Plaintiff met the definition of

an "employee" under all applicable statutes.

        5.       Defendant is a four (4) year public not for profit university existing under the laws of the

State of Florida and having a principal place of business (headquarters) in Tampa, Florida.

        6.       Defendant had20 or more employees during the relevant time period.

        7.       At all relevant times   hereto, Defendant met the definition     of "employer" under all
applicable statutes.

                                     JURISDICTION AND VENUE

           8.    This is a cause of action for damages in excess of Thirty Thousand ($30,000.00) dollars,

 exclusive of costs, interest, and attorney's fees.

        9.       At all times materialhereto, Plaintiff was a resident of Hillsborough County, Florida.

           10. At all times material hereto, Defendant       employed Plaintiff in Hillsborough County,

Florida.

           11.   Venue lies with this Court as to Plaintiff s claims as the events giving rise to the claims

occurred in Hillsborough County, Florida.

                                      CONDITIONS PRECEDENT

           12.   Plaintiff has exhausted his administrative remedies and satisfied allconditions precedent

 to bringing this action in that Plaintiff filed a charge of discrimination with the Equal Employment

 Opportunity Commission. This action is timely filed thereafter.

                                      FACTUAL ALLEGATIONS

           13.   Plaintiff, Dr. Andrew Bugajski, worked for the University of South Florida ("USF") as a

tenure-track Assistant Professor since July 2018.

           14.   Plaintiff succeeded in his position and was at all times relevant hereto qualified for the

position of Assistant Professor and performed all of his duties in a more than satisfactory manner.


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        15.      Plaintiff is Caucasian and male.

        16.      At all times relevant hereto, Plaintiff wasthe only male nurse tenure-line research faculty

member for the College of Nursing.

        17   .   Over the course of his employment, Plaintiff was regularly recognized both publicly and

privately by Defendant for his noteworthy achievements. On numerous occasions in department

meetings and one-on-one meetings Plaintiff was told that he was on track or ahead according to all        of

the metrics used to evaluate Assistant Professors for the College of Nursing.

        18.      Over the course of his employment, Plaintiff received yearly evaluations which clearly

showed that he exceeded every quota or requirement imposed by Defendant.

        19.      Shortly after being hired, Plaintiff immediately recognized his supervisor Vice Dean

Usha Menon exhibiting hostility towards Caucasian men.

        20.      Indeed, Plaintiff witnessed this disconcerting behavior which also occurred in front     of
other employees on multiple occasions. Specifically, Vice Dean Menon told Plaintiff and others that

USF's upper administrators were "a bunch of fucking white male conservatives."

        21,      Plaintiff was shocked and confused by these statements. Shortly thereafter, however,

Plaintiff learned the truth: Vice Dean Menon openly held a deeply rooted disdain for Caucasian men.

       22.       During his time working for Defendant, Plaintiff witnessed first-hand numerous incidents

of unlawful discrimination and harassment perpetrated by Vice Dean Menon.

       23.       On other occasions, Vice Dean Menon made comments to Plaintiff such as: "You're a

man; you don't understand," and "No offense, you're a white man and you don't get to weigh in on

this," and 'oYou're   a man,   you wouldn't understand."

       24,       On other occasions, Vice Dean Menon would use denigrating language to speak about

the Director of Business and Administrative Services, who was also a Caucasian male. Specifically, Vice

Dean Menon told Plaintiff and other colleagues that the Director was "creepy," and 'ostupid," and

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"incompetent." Vice Dean Menon also talked openly about how she planned to make the Director quit

or would fire him.

        25.    Additionally, Plaintiff was treated differently than his female colleagues. When Plaintiff

 informed Defendant that he and his wife were expecting a child, Vice Dean Menon repeatedly harassed

Plaintiff and questioned his ability to handle his work responsibilities   as a new   father. Vice Dean Menon

also made threats to take away his contractually protected research time.

        26.    Because    of the   incessant harassment and discrimination       Plaintiff was subjected to,

Plaintiffs working conditions became so intolerable that Plaintiff involuntarily resigned from his

position as Assistant Professor inMay 2021.

                                                COUNT      I
                                          Title VII Harassment

        27.    Plaintiff alleges and incorporates by reference the allegations              in the preceding
paragraphs.

        28.    Plaintiff is a member of a protected class.

        29.    Based on the described conduct above, Plaintiff was subjected               to a hostile work
environment relating to his race and his gender.

        30.    The above-described conduct was not welcomed by Plaintiff and was motivated by

Plaintiff s race and his gender,

        31.    The conduct was so severe and/or pervasive that a reasonable person would find the

environment to be hostile and unwelcoming.

       32.     Plaintiff s wages and benefits were impacted and Plaintiff s standing amongst his co-

workers was adversely impacted due to the pervasive and/or severe conduct by Defendant and its agents.

        33.    Defendant knew or should have known of the hostile work environment.




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       34.      The above-described hostile workplace environment was created by Defendant with a

reckless disregard for Plaintiff s rights under state and federal law. As a direct and proximate result      of

the environment described above, Plaintiff has suffered and continues to suffer loss of employment, loss

of income, loss of other employment benefits and has suffered and continues to suffer mental anguish,

distress, humiliation, great expense, and loss of enjoyment of life.

                                              COUNT TWO

                                         Title VII Discrimination

       35.      Plaintiff alleges and incorporates by reference the allegations            in the preceding
paragraphs.

       36.      At all relevant times hereto, Plaintiff was an "employee" within the meaning of Title VII,

and Defendant was an "employer" within the meaning of Title        VII.

       37.      As outlined above, Defendant violated Title VII when it discriminated against Plaintiff

because   ofhis race and gender.

       38.      As outlined above, background circumstances exist supporting an inference that           the

Defendant is one of the unusual employers that discriminates against the majority.

       39.      Plaintiff at all times relevant hereto performed his job satisfactorily.

       40.      Defendant discriminated against Plaintiff to the point that his working conditions became

so intolerable that a reasonable person in the   Plaintiff s position would have felt compelled to resign,

       41.      Plaintiff involuntarily resigned from his position with Defendant due to the intolerable

working conditions.

       42.      Similarly situated employees received more favorable treatment than Plaintiff.

       43.      As a direct and proximate result of Defendant's discriminatory conduct in violation of

Title VII, Plaintiff has suffered, and continues to suffer, monetary and/or economic damages, including,

but not limited to, loss of past and future income, compensation, and benefits, as well severe mental


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anguish and emotional distress, including, but not limited to, depression, humiliation, embarrassment,

 stress, anxiety, loss   of self-esteem and self-confidence, and emotional pain and suffering, for which

Plaintiff is entitled to an award of damages, attorney's fees, and costs.

         44.     Defendant's unlawful actions constitute bad faith, malicious, willful, and wanton

violations of Plaintiff s federally protected rights.

                                                COUNT THREE

                                Harassment     -   Chapter 760, Florida Statutes


         45.     Plaintiff alleges and incorporates by reference the allegations         in the preceding
paragraphs.

         46. At all relevant times hereto, Plaintiff         was an o'employee" within the meaning of the

FCRA, and Defendant was an "employer" within the meaning of the FCRA.

        47.      As outlined above, Defendant violated the FCRA when it subjected Plaintiff to a hostile

work environment because of Plaintiff        s race and gender.


        48.      Defendant is liable for the harassment that Plaintiff was subjected to during the course   of

Plaintiff   s employment   with Defendant.

         49.     As a direct and proximate result of Defendant's harassing conduct in violation of the

FCRA, Plaintiff has suffered, and continues to suffer, monetary andior economic damages, including,

but not limited to, loss of past and future income, compensation, and benefits, for which Plaintiff is

entitled to an award of damages, attorney's fees, and costs.

        50.      Defendant's unlawful actions constitute bad faith, malicious, willful, and wanton

violations of Plaintiff s rights.




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                                                COUNT FOUR

                             Discrimination     - Chapter   760, Florida Statutes

        51.     Plaintiff alleges and incorporates by reference the allegations           in the preceding
paragraphs.

        52. At all relevant times hereto, Plaintiff was an "employee" and Defendant was an
"employer" within the meaning of the FCRA.

        53.     The FCRA, Fla. Stat. $ 760.10,(1)(a), states, in applicable part, as follows: "(1)        It   is

unlawful employment practice for an employer, (a) [t]o discharge or to fail or refuse to hire any

individual or otherwise to discriminate against any individual with respect to compensation, terms,

conditions, or privileges        of   employment, because   of such individual's race, color, religion,   sex,

pregnancy, national origin, age, handicap, or marital status."

        54.     As outlined above, Defendant violated the FCRA when it discriminated against Plaintiff

by subjecting Plaintiff to intolerable working conditions because of his race and gender and forced him

to resign.

        55.     As a direct and proximate result of Defendant's discriminatory conduct in violation of

the FCRA, Plaintiff has suffered, and continues to suffer, monetary and/or economic damages, including,

but not limited to, loss of past and future income, compensation, and benefits, for which Plaintiff is

entitled to an award of damages, attorney's fees, and costs.

                                            PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for the following relief:

        (a)     that this Court grant equitable relief against Defendant under the applicable counts set

forth above, mandating Defendant's obedience to the laws enumerated herein and providing other

equitable relief to Plaintiff;




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          (b)      enter judgment against Defendant and             for Plaintiff awarding damages to Plaintiff from

Defendant's violations of law enumerated herein;

          (c)      enter judgment against Defendant and             for Plaintiff permanently enjoining Defendant

from future violations of law enumerated herein;

          (d)      enter judgment against Defendant and             for Plaintiff awarding Plaintiff attorney's fees,

 interest, and costs; and

          (e)      Compensatory Damages for pain, suffering, mental anguish, loss of enjoyment of life as

well as liquidated damages; and

          (0       An award of damages in an amount to be determined at trial, plus prejudgment interest,

to compensate Plaintiff for harm to Plaintiffls professional and personal reputation and loss of career

fulfillment; and

          (g)      Compensation for lost wages, benefits, and other remuneration; and

          (h)      Interest on any and all prejudgment costs; and

          (i)      An award of damages for any and all other monetary and/or non-monetary losses

suffered by Plaintiff in an amount to be determined at trial, plus prejudgment interest; and

          0)       Grant such other further relief as being just and proper under the circumstances.l

                                                     JURY DEMAND

                   Plaintiff hereby demands a trial by jury on all issues set forth herein which are so triable

          as of right by   jury.

          DATED this       27th    day of April,2022.

                                                              Respectfully submitted,




 I Plaintiff reserves the right to later amend his complaint to include a claim for punitive damages.

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                                       SQUIRES & RYAN, PLLC
                                       100 South Ashley Drive
                                       Suite 600
                                       Tampa, Florida 33602
                                       Telephone: 813.922.2803

                                       By:/s/ Christiane L. No
                                       Christiane L. Nolton, Esq.
                                       Fla. BarNo. 1029126
                                       Email : christiane@squiresryan. com
                                       Attorney for Plaintiff




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